  
     

" PND

CASP; 5;14-cv-00035-JGB-§P Documeml Filed 01/14/14

\QW\IQ\UI-BUNi-\

NNc-\v-\»-\)-¢»-rh-s)-\)-\)-ll~d
r-r¢\¢o¢\l$\Ul-RWN!-l¢

22

 

JAN l 11'2@14

C|erk, US DEStriCt

 

Cou{b

 

 

N NCO'T4

MARK E. ovERLAND (sme Bar No. 38375)
LAW oFFICEs 0F MARK E. ovERLAND

P§lge 1 of 18 Page |D #:14

 

 

100 Wilshire Blvd., Ste. 950
Santa Monica, CA 90401
Telephone: 310 459-2830
Facsimile: 213 459-4621
Emaii: mark@overlaw.net
Attorneys for.Plaintiff
WILLIAM RAY ESPINOZA

DOUGLAS G. GRAY (sme Bar No. 37948) ri;_§
LAW oFFlcES oF DOUGLAS G. GRAY '

5850 Canoga Ave #400
Woodland Hills, CA 91367
Telephone: g818) 888-7632

Facslmile: 818) 888-7427
Email: 1 douglaw368434@aol.c0m

Attorneys for Plaintiffs
ISABEL M. LOPEZ
WILLIAM ESPINOZA, JR.
ANGELA ESPINOZA
TERESA RICO

ISABEL LOPEZ

l nw m

¢--¢

1

 

:{.`§.I

-\x.¢

F?*I=H§

 

UNITED STATES DISTRICT COURT FOR THE CENTRAL

 

 

 

DISTRICT OF CALIFORNIA
in t 11 1 §§ § §§ § .'..;zz;§\z(%\>><)
WILLIAM RAY ESPINOZA, ISABEL M. CASE 1§10
LOPEZ, WILLIAM ESPINOZA, IR.,
ANGELA ESPINOZA, TERESA RICO
and ISABEL LOPEZ, COMPLAINT FOR DAMAGES:
42 U.S.C. 1983; NEGLIGENCE;

Plaintiffs, JURY DE AND.
STANLEY SNIFF, an individual,
COUNTY OF RIVERSIDE, RIVERSIDE
COUNTY SHERIFF’S DEPARTMENT
and DOES 1-10 '

Defendants.

JURISDICTION

1. The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 133 and

\

COMPLAINT FOR DAMAGES AND JURY DEMAND

 

 

 

\$W\I&UI-BUNl-\

NNNNNNNNN)-\)-dh-\»-\Hs~h-\»-\)-ab-¢
“\l¢\Ul¢B-UNi-\¢\$M\l¢\€ll-PUN|-i¢

 

 

Complaint.doc

CasLL 5:14-€\_/-00085-.JGB1'SP Document 1 Filed 01/14/14 P§g'e 2 of 18 Page |D #:15

1343. The Court also has supplemental jurisdiction over the state claim pursuant
to 28 U.S.C. § 1367 . Plaintiffs bring this action pursuant to 42 U.S.C. §§ 1983
and 1988 and state negligence tort claims for relief.

VENUE
Venue over Plaintiffs' claims is properly in the Central District of California
because the incident Which is the basis of the claims occurred in the County of
Riverside and one or more of the defendants' principal place of business is in the
County of Riverside, California. 28 U.S.C. §139l(b)(2). All acts causing the
damages described herein occurred within the County of Riverside.

THE PARTIES
Defendant, COUNTY OF RIVERSIDE (hereaiter referred to as “COUNTY”), is

a Chartered subdivision of the State of California, located in the Central District
of California, with the capacity to sue and be sued.

Defendant, STANLEY SNIFF (herealter referred to as “SNIFF”) is?)vl;sp at all
times mentioned herein, the Sheriff/Coroner of Riverside County and, on
information and belief, a resident of the Central District of California. As Sheriff
of Riverside County, SNIFF has ultimate supervision and management
responsibility over the five jails, or correctional facilities in Riverside County,
all managed by the Sheriffs Department Corrections Division. SNIFF Was
elected as Sheriff/Coroner in 2010 and took office in January 2011 for a full 4
year term.

Plaintiffs are informed and believe and thereon allege that defendants sued

2
COMPLAINT FOR DAMAGES AND JURY DEMAND

 

 

Casz

WM\I€\U|AUNl-‘

NNNNNNNNN)-¢)-\r-\)-¢\-d>-dh-a)-\v-\)-\
@\l¢\Ul-BWNI-*¢\¢W\IG\UIAUNH¢

 

 

5214-CV-00085-.]GB-§P DOCUment l Filed 01/14/14 P§(Qe* 3 Of 18 Page |D #216

herein as DOES 1 through 10, were, at all times mentioned herein, jailers,
medical staff, mental health staff, employees and/or supervisors on duty at the
Southwest Regional Detention Center in Murrieta, a facility of the Riverside
County Sheriffs Department (hereinafter referred to as "RCSD"), assigned to
the Riverside County Jail.

The true names of defendants DOES l through 10, inclusive, are not now known
to Plaintiffs who therefore sue these defendants by such fictitious names. Upon
ascertaining the true name of a DOE defendant, Plaintiffs will amend this
complaint, or seek leave to do so, by substituting the true name for the alleged
fictitious name.

Each DOE defendant is the agent of the other. Plaintiff alleges that each of the
defendants named as a “DOE” Was in some manner legally responsible for the
acts and omissions alleged herein.

Plaintiffs WILLIAM RAY ESPINOZA, ISABEL M. LOPEZ, WILLIAM

4 ESPINOZA, JR., ANGELA ESPINOZA, TERESA RICO and ISABEL LOPEZ

10.

11.

Complaint.doc

are and were at all times herein mentioned, individuals residing in the Central
District, State of California.

WILLIAM RAY ESPINOZA’s date of birth is November'18, 1944.

Plaintiff ISABEL M. LOPEZ is the mother of plaintiff WILLlAM RAY
ESPINOZA

Plaintiff WILLIAM ESPINOZA, JR. is the son of plaintiff WILLIAM RAY

ESPINOZA,

3
COMPLAINT FOR DAMAGES AND JURY DEMAND

 

 

 

CaSz

WN\!G\UIAUNh-\

N N N N N N N N N l-i l-\ l-i l-‘ bd bd l-\ l-\ b-i t-l
®_ \l G\ Ul h 05 N l-l ¢ \$ x \l ¢\ Ul h 00 N b-\ ¢

12.

13.

14.

15.

16.

17.

Complaint.doc

 

 

=5:14-cv-00085-JGB-§P Document 1 Filed 01/14/14 Page 4 of 18 Page |D #:17

Plaintiffs ANGELA ESPINOZA and TERESA RIC() are the daughters of
plaintiff WILLIAM RAY ESPINOZA,
Plaintiff ISABEL ESPINOZA is the niece of plaintiff WILLIAM RAY
ESPINOZA and has maintained a close familial relationship with him
throughout the years up to including the present time.

` PRELIMINARY ALLEGATIONS
At all times relevant herein, defendant COUNTY had a custom or policy
enabling or establishing the actions, omissions, procedures and practices of its
various agents and agencies, including the defendant RCSD”), and its agents and
employees f
At all times relevant to the facts alleged herein, defendants COUNTY and `
RCSD were responsible for ensuring that the actions, omissions, policies,
procedures, practices and customs of the RCSD and its employees and agents
complied with the laws and the Constitution of the United States and of the State
of California
At all times relevant herein, SNIFF was charged by law and was responsible
with the administration of defendant RCSD and its employees, and for the
supervision, training and hiring of persons, agents and employees working
within said RCSD, including officers, deputies, medical staff, mental health staff
and DOES 1 through 10, inclusive,
SNIFF is sued in his individual capacity as a supervisor for his own conscious

indifference in the training, supervising, or controlling his subordinates, or for

` 4
COMPLAINT FOR DAMAGES AND JURY DEMAND

 

 

Case.

WW\lG\Ul-BUNl-\

NNNNNNNNNr-b-\)-‘)-\>-d)-l»-\r-\>-¢)-\
Ooq¢\m-RMNH¢\¢Q¢`IG\UIAWN)-\¢

d

 

 

5214-CV-00085-.]GB-SP" DOCUm€n'[ 1 Filed 01/14/14 PQQ€` 5 Of 18 Page |D #:18

18.

19.

20.

21.

22.

Complaint.doc

his acquiescence in the constitutional deprivations which this Complaint alleges,
or for conduct that showed a reckless or callous indifference to the rights of
others in violation of the Eighth and Fourteenth Amendments to the Constitution
of the United States.

SNIFF'S affirmative conduct includes, without limitation, his failure to enact,
publish, and ensure enforcement of, policies, rules, regulations, customs or
directives designed to protect the Plaintiff and other inmates similarly situated.
SNIFF's affirmative conduct proximately caused acts by others which he knew,
or about which he was consciously indifferent, would inflict the constitutional
harm alleged herein.

It was the duty and responsibility of some DOE defendants to monitor and/or
protect inmates under their custody and control; to ensure that inmates did not
harm other inmates; to maintain safety and security in the jail; and, to protect
inmates from force and violence by other inmates.

SNIFF and some DOE defendants were responsible for the administration of the
Southwest Regional Detention Facility, and/or the supervision of its deputies
and employees

SNIFF and the DOE defendants, jailers and/or supervisory officials at the time
of the incident more specifically alleged below, are responsible for their actions
or inactions relating to their duties to protect inmates under their custody and
control and/or the training and supervision of their subordinates, or, for their

acquiescence in the constitutional deprivations which this Complaint alleges, or

5
C()MPLAINT FOR DAMAGES AND JURY DEMAND

 

 

 

Casii 5:14-cv-OOO85-.]GB-;SP\ Document 1 Filed 01/14/14 P@g`e 6 of 18 Page |D #:19

\OQQ\I¢\U|BUN)-‘

NNNNNNNNN)-¢)-¢)-\i-\»-\)-\h-\)-\)-\)-l
W`l¢\Ul-BUNHQ_\$W\IG\'U|AUN|-‘¢

 

 

23.

24.

25.

26.

Complaint.doc

for their own conduct that showed a reckless or callous indifference to the rights
of those for whom they had a legal duty to provide security and safety.

The DOE defendants failed to ensure adherence to or enforcement of policies,
rules, regulations, or directives, which they knew or reasonably should have
known, would cause others to inflict the constitutional injuries alleged in this
Complaint.

At all times material herein, each DOE defendant was acting as the employee,

agent, and representative of defendant COUNTY and every other D()E
defendant and Within the course and scope of such employment and agency.
Defendant SI\HFF and supervisory DOES l through 10, were at all times
mentioned herein COUNTY employees They were charged by law and were
responsible for the supervision of deputies and employees under their command
at RCSD, including those assigned to the Southwest Regional Detention Facility“
and, for the supervision, training and corrective actions of persons, deputies,
agents, medical staff, mental and employees working under their command
within RCSD and COUNTY.

Each of the defendants and DOE defendants caused and is responsible for the
unlawful conduct and resulting harm by, either personally participating in the
conduct, or acting jointly and in concert with others who did so by authorizing,
acquiescing, condoning, acting, omitting or failing to take action to prevent the
unlawful conduct; or, by failing to enact, or by promulgating or failing to

promulgate, rules, regulations, policies, or procedures pursuant to which the

6
COMPLAINT FOR DAMAGES AND .TURY DEMAND

 

 

 

Casz

\$®`l¢\UIAUN|-\

NNNNNNNN+-\)-\i-‘)-\v-\>-\)d)-¢r-d»
\l¢\Ul-ROJNHQ\¢“`IC\U|-BUNHG

28

 

 

5:14-cV-OOO85-JGB-§P' Document 1 Filed 01/14/14 Page 7 of 18 Page |D #:20

unlawful conduct occurred; or, by failing and refusing, with deliberate
indifference to Plaintiffs rights, to initiate and maintain adequate supervision,
security, training, compliance with duties and staffing; or, by ratifying and
condoning the unlawful conduct performed by agents and officers, deputies,
medical staff and employees under their direction and control.

27. Whenever reference is made in this Complaint to any act by defendants and
DOE defendants, such allegations and references shall also be deemed to mean
the acts and failures to act of each Defendants individually, jointly or severally.

FIRST CLAIM FOR RELIEF FOR VIOLATION OF 42 U. S. C. § 1983
AGAINST INDIVIDUAL DEFENDANTS AND DOES 1-10

28. Plaintiffs restate the allegations of paragraphs 1 through 27 of this Complaint
and incorporate them herein by reference as though fully set forth herein.

29. On November l4, 2013, Plaintiff WILLIAM RAY ESPINOZA (hereafter
referred to as “ESPINOZA”), was an inmate serving a 90-day state imposed jail
sentence at the Southwest Regional Detention Center, Murrieta, California, a
Riverside County jail facility operated by RC SD.

30. The defendants, either intentionally or with conscious indifference to the safety
and security of ESPINOZA, placed him in a two-person cell at the Southwest
Regional Detention Center with inmate Joseph Alvarez (hereafcer referred to as
“Alvarez”). Alvarez was born on March 28, 1984, was approximately 40 years
younger than ESPINOZA and had a history of mental illness, which included

diagnosed schizophrenia

compiaim.doc 7

C()MPLAINT FOR DAMAGES AND IURY DEMAND

 

 

Ca$.s,e 5:14-cV-OOO85-.]GB~{SP‘ Document 1 Filed 01/14/14 P@g`e 8 of 18 Page |D #:21

\SM\IG\Ul-BWNh-\

NNNNNNNNr-‘i-\)-\Hh-¢Hi-iv-\)-\i-a
\I¢\UI-BUNHQ\QQ¢~!¢\UILUNHQ

28

 

 

31.

32.

33.

34.

35.

Complaint.doc

Plaintiffs allege on information and belief that Alvarez also had either a
documented history of violence or a propensity for violence,

On or about November 14, 2013, after ESPINOZA was placed in the cell with
Alvarez, Alvarez assaulted and beat ESPINOZA with such force and violence,
that ESPINOZA suffered and continues to suffer severe bodily injury, pain and
suffering, resulting in his continuous hospitalization since that date. ESPINOZA
is presently hospitalized, paralyzed, in a coma, minimally conscious with a
severe brain injury resulting from the November 14, 2013 beating by Alvarez.
Defendants and DOES 1-10 knew and/or consciously disregarded, that
ESPINOZA would be and/or was being assaulted by a mentally ill inmate with a
history or propensity for violence, but they were deliberately indifferent to
Plaintiffs security and protection, were consciously indifferent in ensuring his
security, safety and were consciously indifferent in preventing violence and
harm to him from another inmate under their custody and control.

Alvarez has been formally charged by the Riverside County District Attorney
with the attempted murder of ESPINOZA, Charges are currently pending in the
Superior Court of Riverside County.

The conduct of each of the defendants and DOE defendants 1-10, deprived
ESPINOZA of his constitutional rights, including the right to reasonable
custodial security, to be free from excessive force and to have access to medical
care and treatment, all protected under the Eighth Amendment's prohibition

against cruel and unusual punishment and the Fourteenth Amendment’s right to

8
COMPLAINT FOR DAMAGES AND JURY DEMAND

 

 

 

Cas

\$W\IG\UleUNP-\

NNNNNNNNN)-‘h-‘v-)-‘i-‘H)-di-¢)-\l-i
oo\l¢\Ul-BUNH¢\$Q¢\|QUIAUNHG

 

36.

37.

38.

39.

40.

Complaint.doc

 

3 5:14-cV¢OOO85-.]GB-SP` Document 1 Filed 01/14/14 Pejgé 9 of 18 Page |D #:22

due process of law.

As a result of the actions or inactions of the individual Defendants and DOES l-
10, ESPINOZA suffered and continues to suffer severe physical trauma and
injuries and pain and suffering These injuries and damages are ongoing, and
ESPINOZA continues to incur costs of hospitalization, medical, nursing and
other treatment.

As a result of the above-described actions or inactions of the individual
defendants and DOES l-10, Plaintiffs ISABEL M. LOPEZ, WILLIAM
ESPINOZA, JR., ANGELA ESPIN()ZA, TERESA RICO and ISABEL LOPEZ
suffered violations of their First and Fourteenth Amendment due process rights
to familial companionship, relationship and society with ESPINOZA, resulting

in damages according to proof.

Pursuant to the provisions of 42 U.S.C, Section 1988, Plaintiffs are entitled to an

award of reasonable attorneys' fees and costs according to proof.
Each individual defendant and theDOE Defendants acted recklessly, with
conscious indifference to ESPIN()ZA's constitutional rights and should be
assessed punitive damages, according to proof.
SECOND CLAIM FOR RELIEF AGAINST COUNTY AND RCSD,

FOR VIOLATION OF 42 U.S.C. §1983 BASED ON CUSTOM
OR PRACTICE CAUSING CONSTITUTIONAL VIOLATIONS.
Plaintiffs restate the allegations of paragraphs 1 through 39 of this Complaint

and incorporate them herein by reference as though fully set forth herein.

9
COMPLAINT FOR DAMAGES AND IURY DEMAND

 

 

 

Cas<z

\$W\IQ\Ul-POJN|-l

NNNNNNNN)-¢i-\i-i~"~»-\\~\~»-i-\
~lo\ui.hu.)z~)r-¢o\aoo~lc\ulawwv-¢

28

 

 

5214-CV-OOO85-JGB-$P DOCUment 1 Filed 01/14/14 PG(QG 10 Of 18 Page |D #:23

41. At all times herein mentioned, Defendants COUNTY and RCSD maintained
customs or practices that posed a substantial risk of serious harm to inmates
under their custody and control, such as ESPINOZA,

42. COUNTY AND RCSD knew or were consciously indifferent to the following
customs or practices that posed this risk of serious harm: (1) improper
classification of inmates; (2) improper housing or assignment of inmates to
locations within the jail; (3) inadequate monitoring of inmates; (4) inadequate
supervision or training of custody deputies or employees in order to provide
reasonable security to inmates; (5) failure to provide reasonable security and/or
prevent abuse or physical injury of inmates by other inmates; and, (6) failure to
supervise, investigate and take corrective actions with respect to incidents of
failure to provide reasonable security resulting in inmate-on inmate violence.
These customs or practices were the proximate cause of Plaintiffs’ injuries.

43. Pursuant to the provisions of 42 U.S.C. section 1988, Plaintiffs are entitled to an
award of reasonable attorneys' fees and costs, according to proof.

THIRD CLAIM F()R RELIEF AGAINST
sNIFF iN Hls iNi)IvIDUAL cAPAcrrY FoR
VIOLATION OF 42 U.S.C. §1983 AND DOES 1-10, FOR
FAILURE TO TRAIN AND SUPERVISE.

44. Plaintiffs restate Paragraphs l through 43 of this Complaint and incorporate the

allegations therein by reference as though fully set forth herein. f

45. SNIFF acted with deliberate indifference to the constitutional rights of persons

Complaint.doc

10
COMPLAINT FOR DAMAGES AND IURY DEMAND

 

 

Case~ 5:14-CV-OOO85-.]GB-S/P ' Document 1 Filed 01/14/14 Pa@e~ll of 18 Page |D #:24

1 like ESPINOZA, who were in his custody, control and care.

2 46. SNIFF knew or was consciously indifferent to his subordinates' constitutional

: violations as set forth herein, including (1) improper classification of inmates;

5 (2) improper housing or assignment of inmates to locations within the jail; (3)

6 inadequate monitoring of inmates; (4) inadequate supervision or training of

7 custody deputies or employees in order to provide reasonable security to

: inmates; (5)` failure to provide reasonable security and/or prevent abuse or
10 physical injury of inmates by other inmates; and, (6) failure to supervise,
11 investigate and take corrective actions with respect to incidents of failure to
12 provide reasonable security resulting in inmate-on inmate violence,
:: 47 . SNIFF, with conscious indifference to the consequences, failed to act to prevent
15 this unconstitutional conduct by his subordinates and/or acquiesced, condoned
16 or ratified a custom, practice or policy of unlawful and/or unconstitutional
17 conduct by his subordinate deputies and supervisors
18 48. SNIFF is sued in his individual capacity for his own culpable action or inaction

_ ;: in the training, supervision, or control of his subordinates, including the facility
21 commanders, the watch commander, the floor supervisors, and/or for his
22 acquiescence in the constitutional deprivations as alleged herein, and/or conduct
23 il exhibiting a reckless or conscious indifference to the rights of inmates such as
:: ESPINOZA, in implementing or failing to implement, policies, procedures, rules
26 or directives that would have prevented the constitutional harm to ESPINOZA
27 alleged herein,
28
Complai"t`d°° COMPLAINT FoR DMéEs AND IURY DEMAND

 

 

 

 

 

ease 5:14-cv-00085-JGB-SP Document 1 Filed 01/14/14 Pa’ge` 12 of13 Page lD #:25

1 49. SNlFF's actions and/or inactions under his supervision and control proximately

2 caused the constitutional violations alleged herein.

: 50. Plaintiffs are informed and believe and thereon allege that prior to November

5 14, 2013 and subsequent thereto, SNIFF and the supervisor DOE defendants

6 knew or were consciously indifferent that sheriff deputies, custody personnel

7 and supervisors employed by RCSD, in the course and Scope of their

: employment, committed similar acts of failure to provide reasonable security,
10 failed to monitor inmates under their watch, failed to safeguard against inmate-
11 on-inmate violence and improperly designated and/or housed inmates
12 51. Plaintiffs are maher infenned end believe end thereupon eiiege that sNiFF end
:: the supervisor DOE defendants were aware, or should have been aware and
15 should have taken actions to ensure: (l) reasonable security to protect the
16 security of inmates; (2) adequate monitoring of inmates; (3) prompt and proper `
17 medical and mental health care to inmates; (4) proper classification, and housing
18 of inmates; and, (5) adequate protection of inmates against violence form other
;: inmates
21 52. As a result of these actions or inactions, SNIFF is liable in his personal capacity
22 based upon his knowledge or deliberate indifference, go ther actions or inactions
23 of deputies under his supervision and control, resulting in violations of the
:: constitutional rights of inmates, such as ESPINOZA.
26 53. SNIFF's inaction in failing to investigate, train, or request disciplinary action of`
27 his subordinate deputies, constitutes acquiescence in the unconstitutional
28

Complai“t`d°c CoMPLAINT FoR DAMAI€§ES AND JURY DEMAND

 

 

 

 

 

 

 

 

 

Cas:= 5:14-cv-OOO85-.]GB-$P* Document 1 Filed 01/14/14 que 13 of 18 Page |D #:26
1 conduct and is the proximate cause of Plaintiffs' injuries, for which SNIFF is
2 iiab_ie.
: 54. As consequence of` the actions of inactions of SNIFF and the DOE defendant
5 supervisors, as described above, Plaintiffs were damaged and injured as alleged
6 herein,
7 55. Pursuant to the provisions of 42 U.S.C. section 1988, Plaintiffs are entitled to an
: award of reasonable attorneys' fees and costs according to proof`.
10 56. SNIFF and the DOE supervisory defendants acted recklessly, with conscious
11 indifference to ESPINOZA's constitutional rights and should be assessed
12 punitive damages, according to proof.
:: FOURTH CLAIM FOR RELIEF FOR NEGLIGENCE
15 AGAINST ALL INDIVIDUAL DEFENDANTS
16 57 . Plaintiffs restate Paragraphs 1 through 56 of this Complaint and incorporate the
17 allegations therein by reference as though fully set forth herein.
18 5 8. In acting or failing to act as alleged herein, SN.[FF and the individual and
;: supervisory DOE defendants failed to deliberate and consider policy decisions
21 involving a conscious balancing of risks and advantages to their actions or
22 inactions
23 59. SNIFF and the individual and supervisory DOE defendants failed to exercise
:: reasonable and ordinary care to ensure: (1) reasonable security to protect the
26 security of inmates; (2) adequate monitoring of inmates; (3) prompt and proper §
27 medical and mental health care to inmates; (4) proper classification, and housing ‘
28
Complai“t`d°c COMPLAINT FoR DAMAI€;ES AND JURY DEMAND

 

Case,

\$®\lG\UI-BUNb-l

NNNNNNNNNr-»-¢r-\)-\i-\r-\i-\)-\)-\i-\
W`l¢'\Ul-RUNHQ\QW\!G\Ul-BUNH¢

 

 

5214-CV-OOO85-JGB-SP` DOCument 1 Filed 01/14/14 PdQé-14 Of 18 Page |D #:27

of inmates; and, (5) adequate protection of inmates against violence from other
inmates
60. As a proximate result of this failure to exercise reasonable care, Plaintiffs

suffered injury as alleged herein.

WHEREFORE, Plaintiffs pray for relief as follows:

l. For general damages according to proof;

2. For past, present and future special damages according to proof;

3. For other losses in an amount according to proof;

4. For costs of suit and reasonable attomeys' fees permitted pursuant to 42 U.S.C, §1988;

5. For exemplary damages against individual defendants where appropriate; and

6. For such further relief as the court may deem just and equitable.

Dated: January/%2014 LAW OFFICES OF MARK E. GVERLAND

WMOMM

Ma`rk E Overland
Attorney for Plaintiff
WILLIAM RAY ESPINOZA

 

LAW OFFICES OF DOUGLAS G. GRAY

By= f %M%M

LIAM ESPINOZA, JR
GELA ESPINOZA
TERESA RICO

ISABEL LOPEZ

 
  

cempieint.dee 14
COMPLAINT FOR DAMAGES AND IURY DEMAND

 

 

 

 

`CHS€ JGSseamanrtniii,ieiiereeeien.i@ rare 'D

 

 

 

 

 

 

civii. coven si~iEEr
q l. (a) PLA|NT!FFS ( Check box if you are representing yourself [:j ) DEFENDANTS (Check box if you are representing yourself |:| )
Wii|iam Ray Espinoza, isabel M. Lopez, Wiiiiam Espinoza. Jr., Angela Stan|ey Sniff, County of Riverside, Riverside Couniy Sheriii's Department and
Espinoza, Teresa Rioo and isabel Lopez Does 1-10
(b) County of Residence of First Listed Plaintiff Los Angeies County of Residence of First Listed Defendant Riverside
(EXCEPT IN U.S. PLAINTIFF CA$ES`) ,(|N U~$,.~. PLA{NUFF Q‘,\SE,$ QNl-Y)
(c) Attomeys (Finn Name, Address and Telephone Numberi if you are Attomeys (Firm Name, Address and Telephone Number) if you are
representing yourseif, provide the same information representing yourse|f, provide the same information
MARK E. OVERLAND (310) 459*2830 UNKNOWN
Law Offioes of Mark E. Overiand
100 V\h|shliie B|vd., Ste 950
~$ania.Mnnica.QA_SMM
l|. BAS|S 0F .|UR S |CTlON Pi X` on b o i . lll. ClTlZENSHlP 0F PR|NCIPAL PART|ES-For Diversi Cases On
| o ( ace an m e ox n y) (P|ace an X in one blr,)_lefor plaintiff and one for defendtznt) ly F
DEF . . FT DEF
i. U.S. Government 3. Federal Question (U.S. Ciuzen of-[his Sme g 1 [] 1 informian Ol' FHHCIPB| Pla€e m 4 m 4
Plaintiff - Govemment Not a Party) °f B“s‘"e$s '“ d"s State ’
Citizen of Another State [_] 2 |:| 2 incorporated and Principa| Piace [:] 5 |:| 5
2 U$ G D (l d C h C_ S b f of Business in Another State
. . overnment 4. iversity n icate itizens ip rtizen or u jecto a F . N -
oefendanc mcf Pemes m item m) For_eign Couan 13 3 [:' 3 °'°'g" a"°“ m 5 m 6
lV. 0R|GlN (P|ace an X in one box oniy.) 6' Mum_

1 . Origina| 2. Removed from 3. Remanded from 4. Reinstated or 5.Transferred from Anocher Dismct
Proceedlng E State Court m Appe||ate Court l:] Reopened District (Sp€dfy) m litigation

 

 

V.REQUESTED|N CCMFLAlNT: JURY DEMAND: Yes ['_'j No (Check "Yes" only if demanded in compiaint.)

CLASS ACT|ON under F.R.CV.P. 23: [:]Yes No §§ MQNEV DEMANDED lN COMPLA|NT: $ Acmrdingjo proof
VL CAUSE QF ACTION (Cite the U.S. Civii Statute under which you are filing and write a brief statement of cause. Do not citejurisdictionai statutes unless diversity.)
42 USC 1983. Unoonstitutiona| treatment of inmate.

 

 

 
  

 
       
 

UiT (P|ace an X in one box oniy).
.. t . ._z`j‘_{ rizw:?g§:~a__ vs ';§

   
   

ii

   
 

  

 

 

   

        
      

 
    

       

 

 

   

 
   
   
    

 
 

           
       

   

   
   

         
 

 
  

      
 

 

    

 

[:| iioinsurance [`_'] 240Tortsto i.and m goz plat;lr;aiization Habea, corpus i:] 820 Copy,ight$
ppica n » _
400 State 120 M . 245 `_l'ort Product 463 Aiien Detainee 330|) t t
i::i Reappomonment m anne [:| liability m 465 other § 510 M()fiol\$ fova€af€` m aen
m 410 Ammst ij 130 Miuerm jj 290Aiioiherneei i ‘ ration m Senrence l`] Wdeema'k
- 0 “" ` " SSOGeneral '*` air - ` `
430 33 ~ 140 Negotlable .L cm 1 .. _ `_
§ 450 ce?nk;.:;':i:`:mg m "'“'“"‘e“t § - - - _ 13 535°°“*"’€“@"*¥ i:i 861 HiAiisesfr)
150 Recovery of - \ - ~- 370 Other Fraud
Rates/Etc. m overpayment& |:] 310Airpiane m _ _ ' I:] 862 B|ack Lung(923)
|:| 460 Deporratien En;orcementof 315 N,p,ane [] 371 wahm Lendmg ['_'] 540 Mandamus/orher ['_'] 863 oiwc/oiww(4osig»
m 470 Rackmermnu- J“ gme“t m Produchiabilify m 380 otherr>ersenai ij ssociviinighrs [] mssmntiexvi
encecl &Corrupt Org_ m 151 Medicare Act m §lZii Gssauit, Libei & property Damage 555 prison condition m 855 RS| (405 (g))
an er
}:j 480 Consumer Credit 152 Recovery of - 385 P'°p‘?ny.oa'“age 560 Civii Detainee
i:] 490 cabie/sacrv ij newlde St“de"f m iai»ii§dy£mpl°yw E.] P'°d"°mab'"cy m C°"di“°“$°f W""§§z
850 Securme$/c°m_ :-::|;(EXCI.VEL; l:l 340Marine 42¥)€~'¢;;3|28_ k C‘_’,m.ilnem t,i |:' gle£(>’¢aerg`t()i},$,P|ain/¢iffor
- - ecoveryo 7 . ~ .--» _i_» _
i:i medmes/Exchanoe g eyeg',`,,g;m er [_`_| 3,_;§§'~:§"“€ P'°d““ m U$CiSS m gez?zomgfi;eiaied m %1) glus-third Parry 26 usc
890 Other Statuto et. e 423 W’thd 128 ureo roperty 21
m Acti°ns ry m wosmckh°lders, [:l 350 MotorVehiCle i:i U5C1§7 rawa m USC881
S g 355MotorVehicle ‘ * " '-’t‘. ` ~ 6900ther
m ::; ;`:'.‘°"::1”':`:“ “‘ 111 preduauabrncy E'm'c't;`--*~e;'éwmgm _- --- ,
[:] v"° en a |:| igooth“ 3600therPersonai ~' " *-"' j
Matters Contra¢t \Z| 'n}u,y |:l 441 young m 710Fa|rLaborStandards
|'_`] 895 F""ed°"‘ °f'“f°' 195 Contract 362 Personai injury- ' Act
Act |:] Product Liabiiiry m Med Maipratice i:] ::§ §mp|?y"/\€m m §Z?It.iabor/Mgmt.
896 Arbirrarion 195; hi 365 Personailnjury- °“S ng ea °"S-
m ij ram ge m Pf°d“€mah“'ty m Acc°m°dau°"s \:] 740 Raiiway LaborAct
89 Ad i _P¢ ed . _ 3 7Hea|thca,»e/ 445 Americanwith
i'_“| Aei/newqe‘xef:cppe:ii} jj 210 tend [] Piiarmaceurieai Ei D»sabilities~ ij Z§v';ag‘c‘t'¥““d Med'°a'
Agency Decision Cundemnation Personai Injury E'“P'°\'"‘E“t
220 Foredosure u a m Ca" .
gee c mt e ny f m §§'§"Af§e'§t.‘,’l"" 13 iie‘e€i.eeeee-‘?" ";‘f" iii ie";?e"é?.'“"°'
[:} °“ “ °"°' ° 230 Renti.ease&

 

 

 

 

 

 

 

Starestacutes [] Ejedment »|:] :|err»ona|i.nju:?él 1:[ ngucamn m ;:;u§nnt;p;pcytee Ret.inc.

FOR°FF|CE USEONLY: Case Number: g is V 1 is m 3 §

cv-11 iii/131 clvii. coven sHeEr page'¢ .,¢3

 

 

 

 

 

~

. ease 5:14-cv-00085-JGB-SP Document 1 F'l 01 -
` UNlTED STATES DISTR|CT COURT, CE|§'|GRAL l/)Jl_é'l/'a_l£¢].:'rgFag\il*gquA-S Page |D #'29

' ClViL COVER SHEET

V"l- VENUE; Your answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned This initial assignment
ls subject to change in accordance with the Court‘s Generai Orders, upon review by the Court of your Complaint or Notice of Removal.

 
   

 

Question A: Was this case removed from
state court2

 

 

 

 

E] ‘(es |E No [j, ,Los Angeies
if "no. " go w Questlon B. lf'yes." check the ij venture santa samara, or san Luls obispo We“e"‘
box to the right that applies enter the Southe
corresponding division in response to [:] Olange m
Question D, below. and skip to Section lX.
[`_`| Riverside or San Bemardino Ea$te'"

 

 

 

 

B: ls States, or one
agencies or empioyees, a party to this

|'_'] Yes |§§| No

"no, " go to Ques¢ion g lf"ye$," check the Los Angeles {:] Los Angeles Western

to the right that applies, enter the Vemum, santa
division in response to |:l

l 1 l l '
D below and skip to Sect on lX orange m orange gointh

San'ca Barbara, or San Luis western

Riverside or San Bemardlno ij Riverside or San Bemardino Eastem

Other |:| other Westem

 

     

-’\- ` -“ ' ~ ‘s.» ‘»;-,
indicate the location in which a
majority of plaintiffs reside:
indicate the location in which a
majority of defendants reside:

 

 

 

[:l[:|[>§l
g
l:l

 

 

 

 

 

 

 

 

 

 

 

C.1 . is either of the following trer `if so, check the one that applies: C.2. is either of the following true? if so, check the one that applies
|____l 2 or more answers in Column C 2 or more answers in Column D
|:l only 1 answer in Column C and no answers in Column D [___] only 1 answer in Column D and no answers in Column C
‘Iour case will initially be assigned to the Your case will initially be assigned to the
SOUi’HERN DlVlSlON. EASTERN DiViSlON.
Enter "Southern" in response to Question D, helow. Enter "Eastern" in response to Question D, below.
if none applies, answer question C2 to the right. » if none applies, go to the box below. &

 

Your case will initially be assigned to the
WESI'ERN DiVlSiON.
Enter "Westem" in response to Question D below.

 

 

 

 

.,.

 

EASTERN

 

 

cv-71(11/13) ' €N|L COVER SHEET Page 2 of$

 

 

   

` Case 5:14-CV-00085-.]GB-SP Document 1 Filed 01/14/14 Page 17 of 18 Page |D #:30

UNITED STATES DlSTRlCT COURT, CENTRAL DlSTRlCT OF CALIFORNIA

 

ClVlL COVER SHEET
lX(a). lDENTlCAL CASES: Has this action been previously h|ed in this court and dismissed, remanded or closed? NO l:] YES
lfyes, list case number(s):
lX(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO m ¥ES

if yes, list case number(s):

 

Civii cases are deemed related if a previously filed case and the present case:

(Check an b°xes that app|y) l:| A, Arise from the same or closely related transactions, happenings, or events; or

m B. Ca|l for determination of the same or substantially related or similar questions of law and fact; or

[:| C. For other reasons would entail substantial duplication of labor if heard by differentjudges; or

m D. lnvolve the same patent, trademark or copyrightl and one of the factors identified above in a, b or c also is present.

 

X. SlGNATURE 0F ATTORNEY
(QR SELF-REPRESENTED LlTlGAN'l`):

HU/%/{JVl/M DATE:- Ll[ll//Lf

Notlce to CounsellPartles:The CV~71 (JS-44) Civii Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadin s or
other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not led
but is used by the Cierk of the Court for the purpose of statistics, venue and initiating the clvll docket sheet (For more detailed instructions see separate instructions sheet)_

 

Key to Statlstlcal codes relating to Sociai Security Cases:

Nature of Suit Code Abbreviation

` 861
862
863
863
864 l

865

HlA
at
oiwc
Dlww

S$lD

RSl

Substantivo Statomont of Cause of Action
All claims for health insurance benefits (Medicare) under Titie 18l Part A, of the Sociai Securlty Aci, as amended. A|so,
include claim§ by gospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 193 FF( ))

All claims for "Black Lung" benefits under Tit|e 4, Part B, of the Federal Coal Mlne Health and Safei:y Act of 1969. (30 U.S.C
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Soclal Securlty Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims liled for widows or widowers insurance benefits based on disability under Trtle 2 of the Sociai Securlty Ac't`,`§§
amended. (42 U.S.C. 405 (g)) » -

All claims for supplemental security income payments based upon disability filed under Title 16 of the Sociai Securlty Act, as
amended. v .

All claims for retirement (old age) and survivors benefits under Trtle 2 of the Sociai Securlty Act. as amended.
(42 U.S.C. 405 (g))

 

cv-71 (1 1/13)

 

ClVlL CCVER SHEET Page 3 of 3

 

 

 

 

 

Case 5:14-CV-OOO85-.]GB-SP Document 1 Filed 01/14/14 Page 18 of 18 Page |D #:31

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES ]UDGES

This case has been assigned to District ]udge l€SuS G- B€rrlal and the assigned

 

Magistrate ]udge is Sheri Pym

 

The case number on all documents filed with the Court should read as follows:

5:14CV85 ]GB SPX

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of
California, the Magistrate ]udge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate ]udgel

Clerk, U. S. District Court

 

 

 

]anuary 14, 2014 By ],Prado
Date . Deputy Clerl<
NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants ( if a removal action is
filed, a copy of this notice must be served on allplainti]j¢s).

Subsequent documents must be filed at the following location:

[:| Western Division |:| Southern Division Eastern Division
312 N. Spring Street, G-8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (08/13) NOTICE OF ASSIGNMENT TO UNITED STATES IUDGES

 

 

 

